             Case 2:18-cv-00545-MAT Document 6 Filed 05/23/18 Page 1 of 2



 1
 2                                                          Honorable Mary A. Theiler

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 8                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON
 9                               AT SEATTLE
10
11   DOMAIN.COM, INC., a Colorado              Case No. 2:18-cv-00545-MAT
     corporation; EMMET
12   STEPHENSON, an individual; TONI
     STEPHENSON, an individual,                NOTICE OF VOLUNTARY
13                                             DISMISSAL PURSUANT TO
                 Plaintiffs,                   F.R.C.P. 41(a)(1)(A)(i)
14
15         v.

16   WOLF STEEL GROUP, INC., a
     Canadian corporation
17
                 Defendant.
18
19
20        Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i), Plaintiffs
21 Domain.com, Inc., Emmet Stephenson, and Toni Stephenson hereby give notice
22 that the above captioned action is voluntarily dismissed against Defendant Wolf
23 Steel Group, Inc.
24        Defendant has not yet served an answer or a motion for summary judgment.
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27
28
     NOTICE OF VOLUNTARY DISMISSAL–1                               2101 Fourth Avenue, Suite 1500
     [Case No. 2:18-cv-00545-MAT]           NEWMAN DU WORS LLP       Seattle, Washington 98121
                                                                          (206) 274-2800
            Case 2:18-cv-00545-MAT Document 6 Filed 05/23/18 Page 2 of 2



 1        Respectfully submitted May 23, 2018.
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 3                                      Newman Du Wors LLP
 4
 5                                      __________________________
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 6                                      dn@newmanlaw.com
 7                                      2101 Fourth Avenue, Suite 1500
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 9
                                        Attorneys for Plaintiffs
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